                                                                                                       Case 11-11593-BLS                      Doc 1         Filed 05/24/11              Page 1 of 45
                                                                     B1 (Official Form 1) (4/10)
                                                                                                           United States Bankruptcy Court
                                                                                                                 District of Delaware                                                                       Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                            Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Harmon, Craig J.                                                                      Harmon, Katherine L.
                                                                      All Other Names used by the Debtor in the last 8 years                                All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                           (include married, maiden, and trade names):
                                                                                                                                                            Katherine L. Young


                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete         Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete
                                                                      EIN (if more than one, state all): 7387                                               EIN (if more than one, state all): 4718

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                      Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      18531 Greely Ave                                                                      18531 Greely Ave
                                                                      Lincoln, DE                                                                           Lincoln, DE
                                                                                                                             ZIPCODE 19960                                                                         ZIPCODE 19960
                                                                      County of Residence or of the Principal Place of Business:                            County of Residence or of the Principal Place of Business:
                                                                      Sussex                                                                                Sussex
                                                                      Mailing Address of Debtor (if different from street address)                          Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                               ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                   ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                          Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                             the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                               Chapter 7                Chapter 15 Petition for
                                                                     9Individual (includes Joint Debtors)
                                                                      See Exhibit D on page 2 of this form.
                                                                                                                                   Single Asset Real Estate as defined in 11
                                                                                                                                   U.S.C. § 101(51B)
                                                                                                                                                                                      Chapter 9
                                                                                                                                                                                      Chapter 11
                                                                                                                                                                                                               Recognition of a Foreign
                                                                                                                                                                                                               Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                           Chapter 12               Chapter 15 Petition for
                                                                        Partnership
                                                                        Other (If debtor is not one of the above entities,
                                                                                                                                   Stockbroker
                                                                                                                                   Commodity Broker
                                                                                                                                                                                  9   Chapter 13               Recognition of a Foreign
                                                                                                                                                                                                               Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                        Nature of Debts
                                                                                                                                   Other                                                                (Check one box.)

                                                                                                                                              Tax-Exempt Entity
                                                                                                                                                                                  9   Debts are primarily consumer
                                                                                                                                                                                     debts, defined in 11 U.S.C.
                                                                                                                                                                                                                         Debts are primarily
                                                                                                                                                                                                                         business debts.
                                                                                                                                           (Check box, if applicable.)               § 101(8) as “incurred by an
                                                                                                                                   Debtor is a tax-exempt organization under         individual primarily for a
                                                                                                                                   Title 26 of the United States Code (the           personal, family, or house-
                                                                                                                                   Internal Revenue Code).                           hold purpose.”
                                                                                          Filing Fee (Check one box)                                                              Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                     9  Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee          Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or affiliates are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.            than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                           THIS SPACE IS FOR
                                                                      9  Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                                                                                                                                       COURT USE ONLY

                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors
                                                                     9
                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-          10,001-          25,001-          50,001-         Over
                                                                                                                        5,000          10,000          25,000           50,000           100,000         100,000
                                                                     Estimated Assets
                                                                                             9
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities
                                                                                             9
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                                    Case 11-11593-BLS                   Doc 1        Filed 05/24/11                Page 2 of 45
                                                                     B1 (Official Form 1) (4/10)                                                                                                                            Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Harmon, Craig J. & Harmon, Katherine L.

                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by § 342(b) of the
                                                                                                                                                     Bankruptcy Code.
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                                                                                                                                                     X   /s/ Neil F. Dignon                                             5/24/11
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      9 No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          9 Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                           9 Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.
                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          9 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)

                                                                                                                                    (Address of landlord or lessor)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                                                           Case 11-11593-BLS                  Doc 1         Filed 05/24/11                  Page 3 of 45
                                                                     B1 (Official Form 1) (4/10)                                                                                                                                                    Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Harmon, Craig J. & Harmon, Katherine L.

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Craig J. Harmon                                                                    Signature of Foreign Representative
                                                                          Signature of Debtor                                     Craig J. Harmon
                                                                      X   /s/ Katherine L. Harmon                                                                Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor                           Katherine L. Harmon
                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          May 24, 2011
                                                                          Date

                                                                                                      Signature of Attorney*                                               Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Neil F. Dignon                                                                preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Neil F. Dignon 3625                                                               110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                          Neil F. Dignon, Esquire Attorney at Law                                           pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          30838 Vines Creek Road, Suite 3A                                                  chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Dagsboro, DE 19939                                                                notice of the maximum amount before preparing any document for filing
                                                                          (302) 725-0288 Fax: (800) 494-8413                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                          N.Dignon@neilfdignon.com                                                          section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          May 24, 2011
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)                             X
                                                                                                                                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                      I declare under penalty of perjury that the information provided in this                   partner whose social security number is provided above.
                                                                      petition is true and correct, and that I have been authorized to file this
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Names and Social Security numbers of all other individuals who
                                                                      United States Code, specified in this petition.                                       prepared or assisted in preparing this document unless the bankruptcy
                                                                                                                                                            petition preparer is not an individual:
                                                                      X
                                                                          Signature of Authorized Individual

                                                                                                                                                            If more than one person prepared this document, attach additional
                                                                          Printed Name of Authorized Individual                                             sheets conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Title of Authorized Individual                                                    of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                            in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                                                    Case 11-11593-BLS            Doc 1       Filed 05/24/11         Page 4 of 45
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                        United States Bankruptcy Court
                                                                                                                              District of Delaware

                                                                     IN RE:                                                                                           Case No.
                                                                     Harmon, Craig J.                                                                                 Chapter 13
                                                                                                                 Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                             CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     9  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Craig J. Harmon
                                                                     Date: May 24, 2011
                                                                                                    Case 11-11593-BLS            Doc 1       Filed 05/24/11         Page 5 of 45
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                        United States Bankruptcy Court
                                                                                                                              District of Delaware

                                                                     IN RE:                                                                                           Case No.
                                                                     Harmon, Katherine L.                                                                             Chapter 13
                                                                                                                 Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                             CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     9  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Katherine L. Harmon
                                                                     Date: May 24, 2011
                                                                     B6A (Official Form 6A) (12/07)     Case 11-11593-BLS                      Doc 1         Filed 05/24/11               Page 6 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                           Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     Debtors' residence located at 18531 Greely Avenue Lincoln, DE                                                                J                          172,717.00               273,856.00
                                                                     19960
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                                                                                                                                                                                      TOTAL                                  172,717.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                     B6B (Official Form 6B) (12/07)     Case 11-11593-BLS                      Doc 1         Filed 05/24/11               Page 7 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                          Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial            Fulton Bank checking account No.05-4461xxxx                                                    J                                50.00
                                                                           accounts, certificates of deposit or            PNC Bank checking Account No. 56-763xxxx                                                       J                              615.00
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Children's bedroom set no. 1 located at Debtors' residence                                     J                                50.00
                                                                           include audio, video, and computer              Children's bedroom set no. 2 located at Debtors' residence                                     J                                50.00
                                                                           equipment.
                                                                                                                           Dishwasher located at Debtors' residence                                                       J                                50.00
                                                                                                                           Freezer located at Debtors' residence                                                          J                                75.00
                                                                                                                           Living room furniture located at Debtors' residence                                            J                              125.00
                                                                                                                           Master Bedroom Furniture located at Debtors' residence                                         J                                75.00
                                                                                                                           Refridgerator located at Debtors' residence                                                    J                                75.00
                                                                                                                           Small Kitchen appliances located at Debtors' residence                                         J                                25.00
                                                                                                                           Stove and microwave oven located at Debtors' residence                                         J                              100.00
                                                                                                                           Washer dryer located at Debtors' residence                                                     J                                75.00
                                                                        5. Books, pictures and other art objects,          CD and DVD movies located at Debtors' residence                                                J                                20.00
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Debtors' wearing apparel located at Debtors' residence                                         J                                50.00
                                                                        7. Furs and jewelry.                               Wedding Bands                                                                                  J                              500.00
                                                                        8. Firearms and sports, photographic,              Digital camera located at Debtors' residence                                                   J                                25.00
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                     B6B (Official Form 6B) (12/07) -Case
                                                                                                     Cont.         11-11593-BLS         Doc 1     Filed 05/24/11           Page 8 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                              Case No.
                                                                                                                            Debtor(s)                                                                       (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                    CURRENT VALUE OF
                                                                                                                     N                                                                                             DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                              PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                DEDUCTING ANY
                                                                                                                     E                                                                                              SECURED CLAIM OR
                                                                                                                                                                                                                        EXEMPTION




                                                                      11. Interests in an education IRA as           X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or             IM Financial Services IRA Account no. 41-067xxxx                     H                                650.00
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated        X
                                                                          and unincorporated businesses.
                                                                          Itemize.
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                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             1994 Mazda Navajo VIN                                               W                                 300.00
                                                                          other vehicles and accessories.                1998 Ford Explorer Not running                                       H                                700.00
                                                                     B6B (Official Form 6B) (12/07) -Case
                                                                                                     Cont.      11-11593-BLS         Doc 1     Filed 05/24/11           Page 9 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                           Case No.
                                                                                                                         Debtor(s)                                                                                 (If known)

                                                                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                                                                             (Continuation Sheet)




                                                                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                           CURRENT VALUE OF
                                                                                                                  N                                                                                                       DEBTOR'S INTEREST IN
                                                                                                                  O                                                                                                        PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                    DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                  N                                                                                                          DEDUCTING ANY
                                                                                                                  E                                                                                                        SECURED CLAIM OR
                                                                                                                                                                                                                               EXEMPTION




                                                                                                                      2006 Dodge Durango VIN1D4HB48286F168407                                          J                            7,350.00
                                                                      26. Boats, motors, and accessories.         X
                                                                      27. Aircraft and accessories.               X
                                                                      28. Office equipment, furnishings, and          Laptop Computer                                                                  J                              100.00
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and     X
                                                                          supplies used in business.
                                                                      30. Inventory.                              X
                                                                      31. Animals.                                X
                                                                      32. Crops - growing or harvested. Give      X
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                                                                          particulars.
                                                                      33. Farming equipment and implements.       X
                                                                      34. Farm supplies, chemicals, and feed.     X
                                                                      35. Other personal property of any kind     X
                                                                          not already listed. Itemize.




                                                                                                                                                                                            TOTAL                                 11,060.00
                                                                                                                                                                       (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                       Report total also on Summary of Schedules.)
                                                                     B6C (Official Form 6C) (04/10)Case          11-11593-BLS               Doc 1       Filed 05/24/11             Page 10 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                    Case No.
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $146,450. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                        911 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Fulton Bank checking account                                 DCA 10 § 4914(b)                                                        50.00                     50.00
                                                                     No.05-4461xxxx
                                                                     PNC Bank checking Account No.                                DCA 10 § 4914(b)                                                      615.00                     615.00
                                                                     56-763xxxx
                                                                     Children's bedroom set no. 1 located at                      DCA 10 § 4914(b)                                                        50.00                     50.00
                                                                     Debtors' residence
                                                                     Children's bedroom set no. 2 located at                      DCA 10 § 4914(b)                                                        50.00                     50.00
                                                                     Debtors' residence
                                                                     Dishwasher located at Debtors' residence                     DCA 10 § 4914(b)                                                        50.00                     50.00
                                                                     Freezer located at Debtors' residence                        DCA 10 § 4914(b)                                                        75.00                     75.00
                                                                     Living room furniture located at Debtors'                    DCA 10 § 4914(b)                                                      125.00                     125.00
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                                                                     residence
                                                                     Master Bedroom Furniture located at                          DCA 10 § 4914(b)                                                        75.00                     75.00
                                                                     Debtors' residence
                                                                     Refridgerator located at Debtors' residence DCA 10 § 4914(b)                                                                         75.00                     75.00
                                                                     Small Kitchen appliances located at                          DCA 10 § 4914(b)                                                        25.00                     25.00
                                                                     Debtors' residence
                                                                     Stove and microwave oven located at                          DCA 10 § 4914(b)                                                      100.00                     100.00
                                                                     Debtors' residence
                                                                     Washer dryer located at Debtors' residence DCA 10 § 4914(b)                                                                          75.00                     75.00
                                                                     CD and DVD movies located at Debtors'                        DCA 10 § 4914(b)                                                        20.00                     20.00
                                                                     residence
                                                                     Debtors' wearing apparel located at                          DCA 10 § 4914(b)                                                        50.00                     50.00
                                                                     Debtors' residence
                                                                     Wedding Bands                                                DCA 10 § 4914(b)                                                      500.00                     500.00
                                                                     Digital camera located at Debtors'                           DCA 10 § 4914(b)                                                        25.00                     25.00
                                                                     residence
                                                                     IM Financial Services IRA Account no.                        DCA 10 § 4915                                                         650.00                     650.00
                                                                     41-067xxxx
                                                                     1998 Ford Explorer Not running                               DCA 10 § 4914(b)                                                      700.00                     700.00
                                                                     Laptop Computer                                              DCA 10 § 4914(b)                                                      100.00                     100.00




                                                                     * Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                     B6D (Official Form 6D) (12/07)Case          11-11593-BLS                                          Doc 1       Filed 05/24/11             Page 11 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                                              Case No.
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                               PROPERTY SUBJECT TO LIEN                                                           VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO. 5311                                                        W Mortgage account opened 2006-04-28                                                                                 202,368.00                 29,651.00
                                                                                                                                               secured by Debtors' residence
                                                                     Chase Mtg
                                                                     10790 Rancho Berna
                                                                     San Diego, CA 92127

                                                                                                                                                                   VALUE $ 172,717.00

                                                                     ACCOUNT NO. 2994                                                           J Installment account opened 2010-04-08                                                                               6,988.00                 6,688.00
                                                                                                                                                  secured 1994 Mazda Navajo
                                                                     Citifinancial
                                                                     300 Saint Paul Pl
                                                                     Baltimore, MD 21202

                                                                                                                                                                   VALUE $ 300.00

                                                                     ACCOUNT NO. 5261                                                           J Second Mortgage account opened                                                                                    71,488.00                71,488.00
                                                                                                                                                  2007-07-07 secured by Debtors'
                                                                     Citimortgage Inc
                                                                                                                                                  residence
                                                                     Po Box 9438
                                                                     Gaithersburg, MD 20898

                                                                                                                                                                   VALUE $ 172,717.00

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                                                                                                                   Citimortgage Inc
                                                                     NCO Financial Services Inc.
                                                                     P.O. Box 15630
                                                                     Dept 72
                                                                     Wilmington, DE 19850
                                                                                                                                                                   VALUE $
                                                                                                                                                                                                                       Subtotal
                                                                            1 continuation sheets attached                                                                                                 (Total of this page) $ 280,844.00 $ 107,827.00
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                     B6D (Official Form 6D) (12/07)Case
                                                                                                   - Cont.     11-11593-BLS                                         Doc 1        Filed 05/24/11             Page 12 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                                            Case No.
                                                                                                                               Debtor(s)                                                                                                                                     (If known)

                                                                                                          SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                          (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                                                                                                                              AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                       CLAIM WITHOUT
                                                                                                                                                                                                                                                                                      UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                              DEDUCTING
                                                                                                                                                                                                                                                                                    PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                             PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                             COLLATERAL




                                                                     ACCOUNT NO. 1000                                                         J Installment account opened 2007-12-10                                                                            17,772.00                10,422.00
                                                                                                                                                secured by Dodge
                                                                     Santander Consumer Usa
                                                                     Po Box 961245
                                                                     Ft Worth, TX 76161

                                                                                                                                                                 VALUE $ 7,350.00

                                                                     ACCOUNT NO.
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                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $
                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                        (Total of this page) $                                  17,772.00 $              10,422.00
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $ 298,616.00 $ 118,249.00
                                                                                                                                                                                                                                                           (Report also on         (If applicable, report
                                                                                                                                                                                                                                                           Summary of              also on Statistical
                                                                                                                                                                                                                                                           Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                                   Data.)
                                                                     B6E (Official Form 6E) (04/10)Case           11-11593-BLS                  Doc 1         Filed 05/24/11                Page 13 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                             Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                     9Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                          * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            0 continuation sheets attached
                                                                     B6F (Official Form 6F) (12/07) Case         11-11593-BLS                                             Doc 1     Filed 05/24/11              Page 14 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                                                 Case No.
                                                                                                                                 Debtor(s)                                                                                                               (If known)

                                                                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                        DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                      DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                 CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                          (See Instructions Above.)                                                                        SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO. 8823                                                                H Revolving account opened 2004-07
                                                                     Aspire
                                                                     Po Box 105555
                                                                     Atlanta, GA 30348-5555

                                                                                                                                                                                                                                                                                      463.00
                                                                     ACCOUNT NO.                                                                     H Open account opened 2009-09-08
                                                                     Aspire Card
                                                                     P.O. Box 105555
                                                                     Atlanta, GA 30348-5555

                                                                                                                                                                                                                                                                                      508.00
                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                                                                                                                          Aspire Card
                                                                     Midland Credit Mgmt (original Credi
                                                                     8875 Aero Dr
                                                                     San Diego, CA 92123



                                                                     ACCOUNT NO. 4901                                                               W Revolving account opened 2006-08-24
                                                                     Bank Of America
                                                                     Po Box 1598
                                                                     Norfolk, VA 23501

                                                                                                                                                                                                                                                                                        0.00
                                                                                                                                                                                                                                            Subtotal
                                                                            6 continuation sheets attached                                                                                                                      (Total of this page) $                                971.00
                                                                                                                                                                                                                                               Total
                                                                                                                                                                                  (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                      the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                   Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.    11-11593-BLS                                             Doc 1     Filed 05/24/11              Page 15 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                                               Case No.
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                  W Open account opened 2008-12-08
                                                                     Bayhealth Medical Center
                                                                     104 NE Front Street
                                                                     Milford, DE 19963

                                                                                                                                                                                                                                                                                    775.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Bayhealth Medical Center
                                                                     National Recovery Agen (original Cr
                                                                     2491 Paxton St
                                                                     Harrisburg, PA 17111
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                                                                     ACCOUNT NO.                                                                  W Open account opened 2010-02
                                                                     Beebe Medical Center
                                                                     424 Savannah Road
                                                                     Lewes, DE 19958

                                                                                                                                                                                                                                                                                     87.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Beebe Medical Center
                                                                     Fncl Health
                                                                     12850 Middlebrook Ste 307
                                                                     Germantown, MD 20874



                                                                     ACCOUNT NO. 1995                                                             W Revolving account opened 2008-10-03
                                                                     Cap One
                                                                     Po Box 85520
                                                                     Richmond, VA 23285

                                                                                                                                                                                                                                                                                  1,458.00
                                                                     ACCOUNT NO.                                                                  W Open account opened 2009-05-07
                                                                     Cavalier Teleph
                                                                     P.O. Box 9001111
                                                                     Louisville, KY 40290-1111

                                                                                                                                                                                                                                                                                    120.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Cavalier Teleph
                                                                     I.c. System Inc. (original Creditor
                                                                     P.o. Box 64378
                                                                     St Paul, MN 55164


                                                                     Sheet no.       1 of        6 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                              2,440.00
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.    11-11593-BLS                                             Doc 1     Filed 05/24/11              Page 16 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                                               Case No.
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 1405                                                              H Revolving account opened 2004-09-24
                                                                     Chase
                                                                     Po Box 15298
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                                                                                      0.00
                                                                     ACCOUNT NO. 0036                                                             W Revolving account opened 2006-06-29
                                                                     Chase
                                                                     Po Box 15298
                                                                     Wilmington, DE 19850
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                                                                                                                                                                                                                                                                                      0.00
                                                                     ACCOUNT NO.                                                                  W Open account opened 2011-01-04
                                                                     Chase Bank Usa N.a.
                                                                     200 White Clay Center Drive
                                                                     Newark, DE 19703

                                                                                                                                                                                                                                                                                  4,047.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase Bank Usa N.a.
                                                                     Lyons Doughty And Veldhuis
                                                                     15 Ashley Place
                                                                     Suite 2B
                                                                     Wilmington, DE 19804

                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase Bank Usa N.a.
                                                                     Midland Credit Mgmt (original Credi
                                                                     8875 Aero Dr
                                                                     San Diego, CA 92123



                                                                     ACCOUNT NO.                                                                  W Open account opened 2010-03-19
                                                                     Citibank
                                                                     100 Citibank Drive
                                                                     San Antonio, TX 78245

                                                                                                                                                                                                                                                                                  2,228.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Citibank
                                                                     Asset Acceptance Llc (original Cred
                                                                     Po Box 2036
                                                                     Warren, MI 48090


                                                                     Sheet no.       2 of        6 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                              6,275.00
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.    11-11593-BLS                                             Doc 1     Filed 05/24/11              Page 17 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                                               Case No.
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 2613                                                             W Revolving account opened 2006-06
                                                                     Citifinancia
                                                                     Bsp13a 300 Saint Paul Pla
                                                                     Baltimore, MD 21202

                                                                                                                                                                                                                                                                                      0.00
                                                                     ACCOUNT NO.                                                                  W Open account opened 2011-01-26 secured by
                                                                                                                                                    furniture
                                                                     Citifinancial
                                                                     NTSB-2320
                                                                     6801 Colwell Blvd
                                                                     Irving, TX 75039
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                                                                                                                                                                                                                                                                                  3,514.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Citifinancial
                                                                     Midland Credit Mgmt (original Credi
                                                                     8875 Aero Dr
                                                                     San Diego, CA 92123



                                                                     ACCOUNT NO.                                                                  W Open account opened 2008-10-19
                                                                     Delmarva Emergency Physicians
                                                                     21 West Clarke Ave
                                                                     Milford, DE 19963

                                                                                                                                                                                                                                                                                    529.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Delmarva Emergency Physicians
                                                                     Nco Fin/38 (original Creditor:delma
                                                                     2360 Campbell Crk Ste 50
                                                                     Richardson, TX 75082



                                                                     ACCOUNT NO.                                                                     J Emergency Medical care
                                                                     Emergency Health Services-Bayhealth
                                                                     640 South State Street
                                                                     Dover, DE 19901

                                                                                                                                                                                                                                                                                      0.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Emergency Health Services-Bayhealth
                                                                     Lancaster Colllections
                                                                     3200 34th Street
                                                                     Suite 130
                                                                     Orlando, FL

                                                                     Sheet no.       3 of        6 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                              4,043.00
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.    11-11593-BLS                                             Doc 1     Filed 05/24/11              Page 18 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                                               Case No.
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 1338                                                             W Revolving account opened 2004-08-09
                                                                     Fia Csna
                                                                     Po Box 17054
                                                                     Wilmington, DE 19850

                                                                                                                                                                                                                                                                                      0.00
                                                                     ACCOUNT NO. 9012                                                             W Revolving account opened 2006-07-09
                                                                     Gemb/ge Money Bank Low
                                                                     Po Box 103065
                                                                     Roswell, GA 30076
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                                                                                                                                                                                                                                                                                    868.00
                                                                     ACCOUNT NO. 4780                                                             W Revolving account opened 2006-05
                                                                     Hsbc/boscv
                                                                     Po Box 4274
                                                                     Reading, PA 19606

                                                                                                                                                                                                                                                                                    442.00
                                                                     ACCOUNT NO. 3596                                                              H Open account opened 2010-08
                                                                     Interboro Recovery Service Inc
                                                                     P.O. Box 573
                                                                     Glenolden, PA 19036

                                                                                                                                                                                                                                                                                  2,076.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Interboro Recovery Service Inc
                                                                     Clark C. Kingery
                                                                     203 West 18th Street
                                                                     Wilmington, DE 19802



                                                                     ACCOUNT NO.                                                                  W Open account opened 2010-04-19
                                                                     Prosper Inc
                                                                     5072 North 300 W
                                                                     Provo, UT 84604-5652

                                                                                                                                                                                                                                                                                  2,125.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Prosper Inc
                                                                     Monterey Collection Sv
                                                                     4095 Avenida De La Plata
                                                                     Oceanside, CA 92056


                                                                     Sheet no.       4 of        6 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                              5,511.00
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.    11-11593-BLS                                             Doc 1     Filed 05/24/11              Page 19 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                                               Case No.
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                  W Open account opened 2010-01
                                                                     Sussex Emergency Services
                                                                     P.O. Box 589
                                                                     Georgetown, DE 19947

                                                                                                                                                                                                                                                                                    185.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Sussex Emergency Services
                                                                     Lanc Coll (original Creditor:med1 0
                                                                     218 West Orange St
                                                                     Lancaster, PA 17603
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                                                                     ACCOUNT NO. 9534                                                             W Revolving account opened 2006-06-11
                                                                     Thd/cbsd
                                                                     Po Box 6497
                                                                     Sioux Falls, SD 57117

                                                                                                                                                                                                                                                                                  1,993.00
                                                                     ACCOUNT NO. 4797                                                              H Revolving account opened 2004-10
                                                                     Thd/cbsd
                                                                     Po Box 6497
                                                                     Sioux Falls, SD 57117-6497

                                                                                                                                                                                                                                                                                      0.00
                                                                     ACCOUNT NO.                                                                  W Open account opened 2010-12-21
                                                                     Verizon Inc.
                                                                     P.O. Box 660748
                                                                     Dallas, TX 75266-0748

                                                                                                                                                                                                                                                                                    139.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Verizon Inc.
                                                                     Afni, Inc. (original Creditor:veriz
                                                                     Po Box 3427
                                                                     Bloomington, IL 61702



                                                                     ACCOUNT NO.                                                                  W Open account opened 2009-03-18
                                                                     Wells Fargo Financial, Inc.
                                                                     Customer Service F4008-080
                                                                     800 Walnut
                                                                     Desmoines, IA 50309
                                                                                                                                                                                                                                                                                  2,017.00
                                                                     Sheet no.       5 of        6 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $                              4,334.00
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                     B6F (Official Form 6F) (12/07) Case
                                                                                                    - Cont.    11-11593-BLS                                             Doc 1     Filed 05/24/11              Page 20 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                                               Case No.
                                                                                                                              Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Wells Fargo Financial, Inc.
                                                                     Zenith Acquisition C (original Cred
                                                                     170 North Pointe Parkway
                                                                     Amherst, NY 14228



                                                                     ACCOUNT NO. 1645                                                             W Revolving account opened 2007-07-11
                                                                     Wff Cards
                                                                     3201 N 4th Ave
                                                                     Sioux Falls, SD 57104
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                                                                                                                                                                                                                                                                                      0.00
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       6 of        6 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                               (Total of this page) $
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $                             23,574.00
                                                                     B6G (Official Form 6G) (12/07)Case          11-11593-BLS                  Doc 1          Filed 05/24/11               Page 21 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                             Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     9Check this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     B6H (Official Form 6H) (12/07)Case           11-11593-BLS                  Doc 1          Filed 05/24/11                Page 22 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                              Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     9Check this box if debtor has no codebtors.
                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                     B6I (Official Form 6I) (12/07)   Case 11-11593-BLS                     Doc 1         Filed 05/24/11               Page 23 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                        Case No.
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                     monthly income calculated on From 22A, 22B, or 22C.
                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                     RELATIONSHIP(S):                                                                                             AGE(S):
                                                                                                                  Son                                                                                                          14
                                                                                                                  Daughter                                                                                                     7
                                                                                                                  Daughter                                                                                                     5



                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation
                                                                      Name of Employer          TWP Management LLC P.O. Box 1250                                       Econo Lodge 19540 Coastal Highway
                                                                      How long employed         1 years and 6 months                                                   10 years
                                                                      Address of Employer
                                                                                                Manchester Center, VT 05255                                            Rehoboth Beach, DE 19971

                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $               2,383.33 $                       3,451.50
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                                                                     2. Estimated monthly overtime                                                                                            $                               $                  288.17
                                                                     3. SUBTOTAL                                                                                                              $               2,383.33 $                       3,739.67
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                   183.99 $                        688.06
                                                                       b. Insurance                                                                                                           $                          $                         30.01
                                                                       c. Union dues                                                                                                          $                          $
                                                                       d. Other (specify) See Schedule Attached                                                                               $                   293.23 $                        433.33
                                                                                                                                                                                              $                          $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                   477.22 $                     1,151.40
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $               1,906.11 $                       2,588.27

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                               $
                                                                     8. Income from real property                                                                                             $                               $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                               $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                     12. Pension or retirement income                                                                                         $                               $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                                                                                                                                              $                               $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $                               $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $               1,906.11 $                       2,588.27

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                4,494.38
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None
                                                                                             Case 11-11593-BLS          Doc 1    Filed 05/24/11     Page 24 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                   Case No.
                                                                                                            Debtor(s)

                                                                                             SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                                 Continuation Sheet - Page 1 of 1

                                                                                                                                                                DEBTOR    SPOUSE
                                                                     Other Payroll Deductions:
                                                                     Med Ins                                                                                     184.90
                                                                     IRA                                                                                         108.33
                                                                     Employee Loan                                                                                         433.33
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                                                                     B6J (Official Form 6J) (12/07)   Case 11-11593-BLS                      Doc 1         Filed 05/24/11              Page 25 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                         Case No.
                                                                                                                               Debtor(s)                                                                               (If known)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                     on Form22A or 22C.
                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $            1,884.00
                                                                         a. Are real estate taxes included? Yes 9 No
                                                                         b. Is property insurance included? Yes 9 No
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $              385.00
                                                                         b. Water and sewer                                                                                                                             $
                                                                         c. Telephone                                                                                                                                   $              150.00
                                                                         d. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $
                                                                     4. Food                                                                                                                                            $              450.00
                                                                     5. Clothing                                                                                                                                        $               50.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $
                                                                     7. Medical and dental expenses                                                                                                                     $
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                                                                     8. Transportation (not including car payments)                                                                                                     $              500.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $               25.00
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $
                                                                         b. Life                                                                                                                                        $               35.00
                                                                         c. Health                                                                                                                                      $              310.00
                                                                         d. Auto                                                                                                                                        $              200.00
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify)                                                                                                                                      $
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $              464.00
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other                                                                                                                                          $
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            4,453.00

                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $            4,494.38
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $            4,453.00
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $               41.38
                                                                     B6 Declaration (Official Form 6Case     11-11593-BLS
                                                                                                     - Declaration) (12/07)                  Doc 1        Filed 05/24/11              Page 26 of 45
                                                                     IN RE Harmon, Craig J. & Harmon, Katherine L.                                                                       Case No.
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      22 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date: May 24, 2011                                   Signature: /s/ Craig J. Harmon
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Craig J. Harmon

                                                                     Date: May 24, 2011                                   Signature: /s/ Katherine L. Harmon
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                       Katherine L. Harmon
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                               Case
                                                                     B6 Summary (Form 6 - Summary)      11-11593-BLS
                                                                                                   (12/07)                                   Doc 1         Filed 05/24/11              Page 27 of 45
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                        District of Delaware

                                                                     IN RE:                                                                                                                Case No.
                                                                     Harmon, Craig J. & Harmon, Katherine L.                                                                               Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          1 $         172,717.00


                                                                      B - Personal Property                                           Yes                          3 $           11,060.00


                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          2                           $        298,616.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          1                           $                 0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          7                           $          23,574.00
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          2                                                     $           4,494.38
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          1                                                     $           4,453.00
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      20 $          183,777.00 $             322,190.00
                                                                                                   Case
                                                                     Form 6 - Statistical Summary (12/07)   11-11593-BLS      Doc 1    Filed 05/24/11        Page 28 of 45
                                                                                                                       United States Bankruptcy Court
                                                                                                                             District of Delaware

                                                                     IN RE:                                                                                       Case No.
                                                                     Harmon, Craig J. & Harmon, Katherine L.                                                      Chapter 13
                                                                                                                Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $         0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $         0.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $         0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $         0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $         0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $         0.00

                                                                                                                                                           TOTAL        $         0.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $      4,494.38

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $      4,453.00

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $      4,938.89


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                        $   118,249.00

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $         0.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                          $         0.00

                                                                      4. Total from Schedule F                                                                                            $    23,574.00

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        $   141,823.00
                                                                     B7 (Official Form 7) (04/10)   Case 11-11593-BLS                   Doc 1        Filed 05/24/11            Page 29 of 45
                                                                                                                              United States Bankruptcy Court
                                                                                                                                    District of Delaware

                                                                     IN RE:                                                                                                       Case No.
                                                                     Harmon, Craig J. & Harmon, Katherine L.                                                                      Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                     or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 50,239.00 2009 Wife
                                                                                                Century Resort Hotel, Inc
                                                                                                Econo Lodge
                                                                                                19540 Coastal Highway
                                                                                                Rehoboth Beach, DE 19971
                                                                                 52,891.90 2010 Wife
                                                                                                Century Resort Hotel, Inc
                                                                                                Econo Lodge
                                                                                                19540 Coastal Highway
                                                                                                Rehoboth Beach, DE 19971
                                                                                  7,953.95 2010        Husband
                                                                                                       TPW Management
                                                                                                       P.O. Box 1250
                                                                                                       Manchester Center, VT 05255-1250
                                                                                 13,812.64 2010         Husband
                                                                                                        Guardian Property Management, LLC
                                                                                                        19633 Bluebird
                                                                                                        Rehoboth Beach, DE 19971
                                                                                      96.94 2010       Wife
                                                                                                       Kmart Corporation
                                                                                                       Sears HR-Payroll Tax
                                                                                                    Case 11-11593-BLS                  Doc 1        Filed 05/24/11            Page 30 of 45
                                                                                                        P.O. Box 2400
                                                                                                        Omaha, NE 68103-2400
                                                                                 19,338.00 2009 Husband
                                                                                                Husband
                                                                                                TPW Management
                                                                                                P.O. Box 1250
                                                                                                Manchester Center, VT 05255-1250

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                      9      two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                             debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                                                                                                               AMOUNT                AMOUNT
                                                                     NAME AND ADDRESS OF CREDITOR                                    DATES OF PAYMENTS                                            PAID           STILL OWING
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                                                                     Santander                                                       3/11, 5/11                                                  700.00              17,772.00
                                                                     Po Box 961245
                                                                     Fort Worth, TX 76161
                                                                     Chase                                                           3/11, 5/11                                                  1,150.00            202,368.00
                                                                     10790 Rancho Berna
                                                                     San Diego, CA 92127
                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      9      preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $5,850.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      9      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                     COURT OR AGENCY                           STATUS OR
                                                                     AND CASE NUMBER                   NATURE OF PROCEEDING                              AND LOCATION                              DISPOSITION
                                                                     Interboro Recovery Services, Inc. Debt                                              Sussex County Court of                    Judgment against
                                                                     v. Harmon                                                                           Common Pleas                              debtor
                                                                     C.A. No. CPU6-10-002413                                                             1 The Circle
                                                                                                                                                         Georgetown, DE 19947
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      9      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                    Case 11-11593-BLS                    Doc 1        Filed 05/24/11            Page 31 of 45
                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      9      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      9      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      9      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      9      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      9
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                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Neil F. Dignon, Esquire                                           3/12/2011                                                            1,500.00
                                                                     30383 Vines Creek Road
                                                                     Suite 3A
                                                                     Dagsboro, DE 19939

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      9      absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                      9      device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      9      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      9      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                    Case 11-11593-BLS                   Doc 1        Filed 05/24/11            Page 32 of 45
                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      9      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      9
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      9      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      9      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
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                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      9      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      9      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      9      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                      9      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.

                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      9
                                                                                                Case 11-11593-BLS               Doc 1      Filed 05/24/11          Page 33 of 45

                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: May 24, 2011                         Signature /s/ Craig J. Harmon
                                                                                                                of Debtor                                                                      Craig J. Harmon

                                                                     Date: May 24, 2011                         Signature /s/ Katherine L. Harmon
                                                                                                                of Joint Debtor                                                           Katherine L. Harmon
                                                                                                                (if any)

                                                                                                                                0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                                               Case 11-11593-BLS              Doc 1         Filed 05/24/11              Page 34 of 45
                                                                     B22C (Official Form 22C) (Chapter 13) (12/10)                         According to the calculations required by this statement:
                                                                                                                                             9 The applicable commitment period is 3 years.
                                                                     In re: Harmon, Craig J. & Harmon, Katherine L.                            The applicable commitment period is 5 years.
                                                                                                      Debtor(s)
                                                                                                                                               Disposable income is determined under § 1325(b)(3).
                                                                     Case Number:
                                                                                                      (If known)                             9 Disposable income is not determined under § 1325(b)(3).
                                                                                                                                           (Check the boxes as directed in Lines 17 and 23 of this statement.)


                                                                                          CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                    AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                     In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly.
                                                                     Joint debtors may complete one statement only.


                                                                                                                       Part I. REPORT OF INCOME

                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                              a.    Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                              b.    9
                                                                                    Married. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 2-10.
                                                                        1
                                                                              All figures must reflect average monthly income received from all sources, derived during                      Column A                Column B
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                                                                              the six calendar months prior to filing the bankruptcy case, ending on the last day of the                     Debtor’s                Spouse’s
                                                                              month before the filing. If the amount of monthly income varied during the six months, you                      Income                  Income
                                                                              must divide the six-month total by six, and enter the result on the appropriate line.
                                                                        2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                 $       1,811.01 $            3,127.88
                                                                              Income from the operation of a business, profession, or farm. Subtract Line b from Line
                                                                              a and enter the difference in the appropriate column(s) of Line 3. If you operate more than
                                                                              one business, profession or farm, enter aggregate numbers and provide details on an
                                                                              attachment. Do not enter a number less than zero. Do not include any part of the business
                                                                        3     expenses entered on Line b as a deduction in Part IV.
                                                                               a.    Gross receipts                                    $
                                                                               b.    Ordinary and necessary operating expenses         $
                                                                               c.    Business income                                   Subtract Line b from Line a
                                                                                                                                                                                         $                       $
                                                                              Rent and other real property income. Subtract Line b from Line a and enter the
                                                                              difference in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do
                                                                              not include any part of the operating expenses entered on Line b as a deduction in
                                                                              Part IV.
                                                                        4
                                                                               a.    Gross receipts                                    $
                                                                               b.    Ordinary and necessary operating expenses         $
                                                                               c.    Rent and other real property income               Subtract Line b from Line a
                                                                                                                                                                                         $                       $
                                                                        5     Interest, dividends, and royalties.                                                                        $                       $
                                                                        6     Pension and retirement income.                                                                             $                       $
                                                                              Any amounts paid by another person or entity, on a regular basis, for the household
                                                                              expenses of the debtor or the debtor’s dependents, including child support paid for
                                                                        7     that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                              by the debtor’s spouse. Each regular payment should be reported in only one column; if a
                                                                              payment is listed in Column A, do not report that payment in Column B.                                     $                       $
                                                                                              Case 11-11593-BLS               Doc 1     Filed 05/24/11         Page 35 of 45
                                                                     B22C (Official Form 22C) (Chapter 13) (12/10)
                                                                             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                             However, if you contend that unemployment compensation received by you or your spouse
                                                                             was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                       8     Column A or B, but instead state the amount in the space below:
                                                                              Unemployment compensation
                                                                              claimed to be a benefit under the
                                                                              Social Security Act                     Debtor $                  Spouse $
                                                                                                                                                                           $                    $
                                                                             Income from all other sources. Specify source and amount. If necessary, list additional
                                                                             sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
                                                                             maintenance payments paid by your spouse, but include all other payments of alimony
                                                                             or separate maintenance. Do not include any benefits received under the Social Security
                                                                       9     Act or payments received as a victim of a war crime, crime against humanity, or as a victim
                                                                             of international or domestic terrorism.
                                                                              a.                                                                           $
                                                                              b.                                                                           $
                                                                                                                                                                           $                    $
                                                                             Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
                                                                       10
                                                                             through 9 in Column B. Enter the total(s).                                                    $      1,811.01 $         3,127.88
                                                                             Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B,
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                                                                       11    and enter the total. If Column B has not been completed, enter the amount from Line 10,
                                                                             Column A.                                                                                      $                       4,938.89

                                                                                              Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD

                                                                       12    Enter the amount from Line 11.                                                                                 $        4,938.89
                                                                             Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend
                                                                             that calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of
                                                                             your spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on
                                                                             a regular basis for the household expenses of you or your dependents and specify, in the lines below, the
                                                                             basis for excluding this income (such as payment of the spouse’s tax liability or the spouse’s support of
                                                                             persons other than the debtor or the debtor’s dependents) and the amount of income devoted to each
                                                                             purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
                                                                       13
                                                                             adjustment do not apply, enter zero.
                                                                              a.                                                                                       $
                                                                              b.                                                                                       $
                                                                              c.                                                                                       $
                                                                              Total and enter on Line 13.                                                                                   $            0.00
                                                                       14    Subtract Line 13 from Line 12 and enter the result.                                                            $        4,938.89
                                                                             Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number
                                                                       15
                                                                             12 and enter the result.                                                                                       $       59,266.68
                                                                             Applicable median family income. Enter the median family income for the applicable state and
                                                                             household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                       16    the bankruptcy court.)
                                                                             a. Enter debtor’s state of residence: Delaware                       b. Enter debtor’s household size:     5   $       91,428.00
                                                                             Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                                                                             9  The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
                                                                       17       3 years” at the top of page 1 of this statement and continue with this statement.
                                                                                The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment
                                                                                period is 5 years” at the top of page 1 of this statement and continue with this statement.

                                                                                   Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                                                Case 11-11593-BLS             Doc 1         Filed 05/24/11      Page 36 of 45
                                                                     B22C (Official Form 22C) (Chapter 13) (12/10)
                                                                       18    Enter the amount from Line 11.                                                                                 $    4,938.89
                                                                             Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the
                                                                             total of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household
                                                                             expenses of the debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the
                                                                             Column B income (such as payment of the spouse’s tax liability or the spouse’s support of persons other
                                                                             than the debtor or the debtor’s dependents) and the amount of income devoted to each purpose. If
                                                                             necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do
                                                                       19    not apply, enter zero.
                                                                              a.                                                                                         $
                                                                              b.                                                                                         $
                                                                              c.                                                                                         $
                                                                              Total and enter on Line 19.                                                                                   $        0.00
                                                                       20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                   $    4,938.89
                                                                             Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number
                                                                       21
                                                                             12 and enter the result.                                                                                       $   59,266.68
                                                                       22    Applicable median family income. Enter the amount from Line 16.                                                $   91,428.00
                                                                             Application of § 1325(b)(3). Check the applicable box and proceed as directed.
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                                                                                The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
                                                                                under § 1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                                                                       23
                                                                             9  The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
                                                                                determined under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not
                                                                                complete Parts IV, V, or VI.

                                                                                         Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)

                                                                                                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                             National Standards: food, apparel and services, housekeeping supplies, personal care, and
                                                                             miscellaneous. Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living
                                                                             Expenses for the applicable number of persons. (This information is available at www.usdoj.gov/ust/ or
                                                                      24A
                                                                             from the clerk of the bankruptcy court.) The applicable number of persons is the number that would
                                                                             currently be allowed as exemptions on your federal income tax return, plus the number of any additional
                                                                             dependents whom you support.                                                                                   $
                                                                             National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                             Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                             Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                             persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                             years of age or older. (The applicable number of persons in each age category is the number in that
                                                                             category that would currently be allowed as exemptions on your federal income tax return, plus the number
                                                                             of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
                                                                      24B    persons under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
                                                                             persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
                                                                             amount, and enter the result in Line 24B.
                                                                              Persons under 65 years of age                           Persons 65 years of age or older
                                                                              a1.    Allowance per person                             a2.     Allowance per person
                                                                              b1.    Number of persons                                b2.     Number of persons
                                                                              c1.    Subtotal                                         c2.     Subtotal
                                                                                                                                                                                            $
                                                                                              Case 11-11593-BLS             Doc 1       Filed 05/24/11        Page 37 of 45
                                                                     B22C (Official Form 22C) (Chapter 13) (12/10)
                                                                             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
                                                                             and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
                                                                      25A    information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable
                                                                             family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                             tax return, plus the number of any additional dependents whom you support.                                    $
                                                                             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
                                                                             the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
                                                                             information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (The applicable
                                                                             family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                             tax return, plus the number of any additional dependents whom you support.); enter on Line b the total of
                                                                             the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b
                                                                      25B    from Line a and enter the result in Line 25B. Do not enter an amount less than zero.
                                                                              a.   IRS Housing and Utilities Standards; mortgage/rental expense          $
                                                                              b.   Average Monthly Payment for any debts secured by your home, if
                                                                                   any, as stated in Line 47                                             $
                                                                              c.   Net mortgage/rental expense                                           Subtract Line b from Line a
                                                                                                                                                                                           $
                                                                             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
                                                                             and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                             Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
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                                                                             for your contention in the space below:

                                                                       26




                                                                                                                                                                                           $
                                                                             Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                             an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
                                                                             and regardless of whether you use public transportation.
                                                                             Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                             expenses are included as a contribution to your household expenses in Line 7.
                                                                      27A      0     1     2 or more.
                                                                             If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
                                                                             Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
                                                                             Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                             Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
                                                                             of the bankruptcy court.)                                                                                     $
                                                                             Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                             expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                      27B    additional deduction for your public transportation expenses, enter on Line 27B the “Public
                                                                             Transportation” amount from IRS Local Standards: Transportation. (This amount is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                $
                                                                                              Case 11-11593-BLS               Doc 1      Filed 05/24/11         Page 38 of 45
                                                                     B22C (Official Form 22C) (Chapter 13) (12/10)
                                                                             Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                             which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
                                                                             than two vehicles.)
                                                                                1     2 or more.
                                                                             Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                             Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                       28    the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47;
                                                                             subtract Line b from Line a and enter the result in Line 28. Do not enter an amount less than zero.
                                                                              a.    IRS Transportation Standards, Ownership Costs                          $
                                                                                    Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                              b.    stated in Line 47                                                      $
                                                                              c.    Net ownership/lease expense for Vehicle 1                              Subtract Line b from Line a
                                                                                                                                                                                              $
                                                                             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
                                                                             checked the “2 or more” Box in Line 28.

                                                                             Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                             Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                             the total of the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47;
                                                                       29    subtract Line b from Line a and enter the result in Line 29. Do not enter an amount less than zero.
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                                                                              a.    IRS Transportation Standards, Ownership Costs                          $
                                                                                    Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                              b.    stated in Line 47                                                      $
                                                                              c.    Net ownership/lease expense for Vehicle 2                              Subtract Line b from Line a
                                                                                                                                                                                              $
                                                                             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                       30    federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
                                                                             taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.                     $
                                                                             Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                       31    deductions that are required for your employment, such as mandatory retirement contributions, union dues,
                                                                             and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                 $
                                                                             Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
                                                                       32    for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
                                                                             whole life or for any other form of insurance.                                                                   $
                                                                             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                       33    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                             payments. Do not include payments on past due obligations included in Line 49.                                   $
                                                                             Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                             child. Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                       34
                                                                             employment and for education that is required for a physically or mentally challenged dependent child for
                                                                             whom no public education providing similar services is available.                                                $
                                                                             Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
                                                                       35    on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
                                                                             payments.                                                                                                        $
                                                                             Other Necessary Expenses: health care. Enter the total average monthly amount that you actually
                                                                             expend on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                       36
                                                                             reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                             Line 24B. Do not include payments for health insurance or health savings accounts listed in Line 39.             $
                                                                             Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
                                                                             you actually pay for telecommunication services other than your basic home telephone and cell phone
                                                                       37    service—such as pagers, call waiting, caller id, special long distance, or internet service—to the extent
                                                                             necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                             deducted.                                                                                                        $
                                                                                                Case 11-11593-BLS               Doc 1      Filed 05/24/11          Page 39 of 45
                                                                     B22C (Official Form 22C) (Chapter 13) (12/10)
                                                                       38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                             $

                                                                                                             Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                         Note: Do not include any expenses that you have listed in Lines 24-37

                                                                             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
                                                                             expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
                                                                             spouse, or your dependents.
                                                                                 a.   Health Insurance                                             $
                                                                                 b.   Disability Insurance                                         $
                                                                       39        c.   Health Savings Account                                       $
                                                                             Total and enter on Line 39                                                                                      $
                                                                             If you do not actually expend this total amount, state your actual total average monthly expenditures in
                                                                             the space below:

                                                                             $
                                                                             Continued contributions to the care of household or family members. Enter the total average actual
                                                                             monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                       40
                                                                             elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                             unable to pay for such expenses. Do not include payments listed in Line 34.                                     $
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                                                                             Protection against family violence. Enter the total average reasonably necessary monthly expenses that
                                                                             you actually incur to maintain the safety of your family under the Family Violence Prevention and
                                                                       41
                                                                             Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                             confidential by the court.                                                                                      $
                                                                             Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                             Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
                                                                       42
                                                                             provide your case trustee with documentation of your actual expenses, and you must demonstrate
                                                                             that the additional amount claimed is reasonable and necessary.                                                 $
                                                                             Education expenses for dependent children under 18. Enter the total average monthly expenses that you
                                                                             actually incur, not to exceed $147.92 per child, for attendance at a private or public elementary or
                                                                       43    secondary school by your dependent children less than 18 years of age. You must provide your case
                                                                             trustee with documentation of your actual expenses, and you must explain why the amount claimed
                                                                             is reasonable and necessary and not already accounted for in the IRS Standards.                       $
                                                                             Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                             clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                       44    National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                             additional amount claimed is reasonable and necessary.                                                          $
                                                                             Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
                                                                             charitable contributions in the form of cash or financial instruments to a charitable organization as defined
                                                                       45
                                                                             in 26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly
                                                                             income.                                                                                                         $
                                                                       46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                     $
                                                                                              Case 11-11593-BLS               Doc 1       Filed 05/24/11         Page 40 of 45
                                                                     B22C (Official Form 22C) (Chapter 13) (12/10)
                                                                                                                   Subpart C: Deductions for Debt Payment

                                                                             Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                             you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
                                                                             Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
                                                                             the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
                                                                             following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
                                                                             page. Enter the total of the Average Monthly Payments on Line 47.
                                                                                                                                                             Average        Does payment
                                                                       47                                                                                    Monthly      include taxes or
                                                                                   Name of Creditor                  Property Securing the Debt              Payment           insurance?
                                                                              a.                                                                         $                     yes    no
                                                                              b.                                                                         $                     yes    no
                                                                              c.                                                                         $                     yes    no
                                                                                                                                          Total: Add lines a, b and c.
                                                                                                                                                                                               $
                                                                             Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary
                                                                             residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                             you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the
                                                                             creditor in addition to the payments listed in Line 47, in order to maintain possession of the property. The
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                                                                             cure amount would include any sums in default that must be paid in order to avoid repossession or
                                                                             foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on a
                                                                             separate page.
                                                                       48                                                                                                   1/60th of the
                                                                                   Name of Creditor                            Property Securing the Debt                   Cure Amount
                                                                              a.                                                                                           $
                                                                              b.                                                                                           $
                                                                              c.                                                                                           $
                                                                                                                                                              Total: Add lines a, b and c.     $
                                                                             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims,
                                                                       49    such as priority tax, child support and alimony claims, for which you were liable at the time of your
                                                                             bankruptcy filing. Do not include current obligations, such as those set out in Line 33.                          $
                                                                             Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter
                                                                             the resulting administrative expense.
                                                                              a.   Projected average monthly Chapter 13 plan payment.                $
                                                                              b.   Current multiplier for your district as determined under
                                                                                   schedules issued by the Executive Office for United States
                                                                       50
                                                                                   Trustees. (This information is available at
                                                                                   www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                   court.)                                                           X
                                                                              c.   Average monthly administrative expense of Chapter 13              Total: Multiply Lines a
                                                                                   case                                                              and b
                                                                                                                                                                                               $
                                                                       51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                        $

                                                                                                                  Subpart D: Total Deductions from Income

                                                                       52    Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                     $
                                                                                              Case 11-11593-BLS                Doc 1      Filed 05/24/11            Page 41 of 45
                                                                     B22C (Official Form 22C) (Chapter 13) (12/10)

                                                                                         Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)

                                                                       53    Total current monthly income. Enter the amount from Line 20.                                                                 $
                                                                             Support income. Enter the monthly average of any child support payments, foster care payments, or
                                                                       54    disability payments for a dependent child, reported in Part I, that you received in accordance with
                                                                             applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                              $
                                                                             Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer
                                                                       55    from wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
                                                                             repayments of loans from retirement plans, as specified in § 362(b)(19).                                                     $
                                                                       56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                            $
                                                                             Deduction for special circumstances. If there are special circumstances that justify additional expenses
                                                                             for which there is no reasonable alternative, describe the special circumstances and the resulting expenses
                                                                             in lines a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the
                                                                             total in Line 57. You must provide your case trustee with documentation of these expenses and you must
                                                                             provide a detailed explanation of the special circumstances that make such expenses necessary and
                                                                             reasonable.
                                                                                                                                                                                            Amount of
                                                                       57
                                                                                   Nature of special circumstances                                                                            expense
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                                                                              a.                                                                                                        $
                                                                              b.                                                                                                        $
                                                                              c.                                                                                                        $
                                                                                                                                                              Total: Add Lines a, b, and c
                                                                                                                                                                                                          $
                                                                             Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and
                                                                       58
                                                                             enter the result.                                                                                                            $
                                                                       59    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                            $

                                                                                                              Part VI. ADDITIONAL EXPENSE CLAIMS

                                                                            Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                            and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                            income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                            average monthly expense for each item. Total the expenses.
                                                                                   Expense Description                                                                                          Monthly Amount
                                                                      60
                                                                             a.                                                                                                             $
                                                                             b.                                                                                                             $
                                                                             c.                                                                                                             $
                                                                                                                                                Total: Add Lines a, b and c                 $


                                                                                                                         Part VII. VERIFICATION

                                                                            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                            both debtors must sign.)

                                                                      61    Date: May 24, 2011                  Signature: /s/ Craig J. Harmon
                                                                                                                                                                     (Debtor)


                                                                            Date: May 24, 2011                  Signature: /s/ Katherine L. Harmon
                                                                                                                                                               (Joint Debtor, if any)
                                                                                                                     Case 11-11593-BLS                                       Doc 1                Filed 05/24/11                            Page 42 of 45
                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                                   District of Delaware

                                                                     IN RE:                                                                                                                                                                     Case No.
                                                                     Harmon, Craig J. & Harmon, Katherine L.                                                                                                                                    Chapter 13
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               3,000.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   1,500.00

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   1,500.00

                                                                     2.     The source of the compensation paid to me was:                            9Debtor                 Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                           9Debtor                 Other (specify):

                                                                     4.     9 I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
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                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                                      May 24, 2011                                                  /s/ Neil F. Dignon
                                                                                                               Date                                                 Neil F. Dignon 3625
                                                                                                                                                                    Neil F. Dignon, Esquire Attorney at Law
                                                                                                                                                                    30838 Vines Creek Road, Suite 3A
                                                                                                                                                                    Dagsboro, DE 19939
                                                                                                                                                                    (302) 725-0288 Fax: (800) 494-8413
                                                                                                                                                                    N.Dignon@neilfdignon.com
                              Case 11-11593-BLS      Doc 1      Filed 05/24/11   Page 43 of 45
Harmon, Craig J.                          Cap One                                 Clark C. Kingery
18531 Greely Ave                          Po Box 85520                            203 West 18th Street
Lincoln, DE 19960                         Richmond, VA 23285                      Wilmington, DE 19802




Harmon, Katherine L.                      Cavalier Teleph                         Delaware Division Of Revenue
18531 Greely Ave                          P.O. Box 9001111                        C/O Stuart B. Drowos, Esquire DAG
Lincoln, DE 19960                         Louisville, KY 40290-1111               820 North French Street
                                                                                  Wilmington, DE 19801



Neil F. Dignon, Esquire Attorney at Law   Chase                                   Delmarva Emergency Physicians
30838 Vines Creek Road, Suite 3A          Po Box 15298                            21 West Clarke Ave
Dagsboro, DE 19939                        Wilmington, DE 19850                    Milford, DE 19963




Afni, Inc. (original Creditor:veriz       Chase Bank Usa N.a.                     Emergency Health Services-Bayhealth
Po Box 3427                               200 White Clay Center Drive             640 South State Street
Bloomington, IL 61702                     Newark, DE 19703                        Dover, DE 19901




Aspire                                    Chase Mtg                               Fia Csna
Po Box 105555                             10790 Rancho Berna                      Po Box 17054
Atlanta, GA 30348-5555                    San Diego, CA 92127                     Wilmington, DE 19850




Aspire Card                               Citibank                                Fncl Health
P.O. Box 105555                           100 Citibank Drive                      12850 Middlebrook Ste 307
Atlanta, GA 30348-5555                    San Antonio, TX 78245                   Germantown, MD 20874




Asset Acceptance Llc (original Cred       Citifinancia                            Gemb/ge Money Bank Low
Po Box 2036                               Bsp13a 300 Saint Paul Pla               Po Box 103065
Warren, MI 48090                          Baltimore, MD 21202                     Roswell, GA 30076




Bank Of America                           Citifinancial                           Hsbc/boscv
Po Box 1598                               300 Saint Paul Pl                       Po Box 4274
Norfolk, VA 23501                         Baltimore, MD 21202                     Reading, PA 19606




Bayhealth Medical Center                  Citifinancial                           I.c. System Inc. (original Creditor
104 NE Front Street                       NTSB-2320                               P.o. Box 64378
Milford, DE 19963                         6801 Colwell Blvd                       St Paul, MN 55164
                                          Irving, TX 75039



Beebe Medical Center                      Citimortgage Inc                        Interboro Recovery Service Inc
424 Savannah Road                         Po Box 9438                             P.O. Box 573
Lewes, DE 19958                           Gaithersburg, MD 20898                  Glenolden, PA 19036
                              Case 11-11593-BLS      Doc 1       Filed 05/24/11   Page 44 of 45
Internal Revenue Service                 Sussex Emergency Services
P.O. Box 21126                           P.O. Box 589
Att: CIO                                 Georgetown, DE 19947
Philadelphia, PA 19114



Lanc Coll (original Creditor:med1 0      Thd/cbsd
218 West Orange St                       Po Box 6497
Lancaster, PA 17603                      Sioux Falls, SD 57117




Lyons Doughty And Veldhuis               Thd/cbsd
15 Ashley Place                          Po Box 6497
Suite 2B                                 Sioux Falls, SD 57117-6497
Wilmington, DE 19804



Midland Credit Mgmt (original Credi      Verizon Inc.
8875 Aero Dr                             P.O. Box 660748
San Diego, CA 92123                      Dallas, TX 75266-0748




Monterey Collection Sv                   Wells Fargo Financial, Inc.
4095 Avenida De La Plata                 Customer Service F4008-080
Oceanside, CA 92056                      800 Walnut
                                         Desmoines, IA 50309



National Recovery Agen (original Cr      Wff Cards
2491 Paxton St                           3201 N 4th Ave
Harrisburg, PA 17111                     Sioux Falls, SD 57104




Nco Fin/38 (original Creditor:delma      Zenith Acquisition C (original Cred
2360 Campbell Crk Ste 50                 170 North Pointe Parkway
Richardson, TX 75082                     Amherst, NY 14228




NCO Financial Services Inc.
P.O. Box 15630
Dept 72
Wilmington, DE 19850



Prosper Inc
5072 North 300 W
Provo, UT 84604-5652




Santander Consumer Usa
Po Box 961245
Ft Worth, TX 76161
                                                                                              Case 11-11593-BLS            Doc 1     Filed 05/24/11        Page 45 of 45
                                                                                                                   United States Bankruptcy Court
                                                                                                                         District of Delaware

                                                                     IN RE:                                                                                  Case No.
                                                                     Harmon, Craig J. & Harmon, Katherine L.                                                 Chapter 13
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: May 24, 2011                     Signature: /s/ Craig J. Harmon
                                                                                                                        Craig J. Harmon                                                          Debtor



                                                                     Date: May 24, 2011                     Signature: /s/ Katherine L. Harmon
                                                                                                                        Katherine L. Harmon                                          Joint Debtor, if any
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